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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Action No. 08-cv-01731-BNB

JAMES R. GIBSON, FILED
UNITED STATES DISTRICT COURT
Plaintiff DENVER, COLORADG

SEP 29 2a}

LIEUTENANT HILL, GREGORY C. PANGHAM

OFFICER FOSTER, and
OFFICER JOHN DOE,

Vv.

Defendants.

ORDER OF DISMISSAL

Plaintiff, James R. Gibson, is a prisoner in the custody of the United States
Bureau of Prisons who currently is incarcerated at the United States Penitentiary,
Administrative Maximum, in Florence, Colorado. He initiated this action by submitting
to the Court pro se a document titled “Criminal Complaint and Statement of Facts.”
The Court reviewed the document and determined it was deficient. Therefore, in an
order filed on August 14, 2008, Magistrate Judge Craig B. Shaffer directed the clerk of
the Court to commence a civil action and directed Mr. Gibson to cure certain
deficiencies in the case within thirty days if he wished to pursue his claims.

The August 14, 2008, order pointed out that Mr. Gibson failed either to pay the
$350.00 filing fee or to submit a Prisoner's Motion and Affidavit for Leave to Proceed
Pursuant to 28 U.S.C. § 1915. The order also pointed out that Mr. Gibson failed to

submit a complaint on the proper, Court-approved Prisoner Complaint form. The order
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warned Mr, Gibson that if he failed to cure the designated deficiencies within thirty days,
the complaint and the action would be dismissed without prejudice and without further
notice. Mr. Gibson has failed within the time allowed to cure the designated
deficiencies or otherwise to communicate with the Court in any way. Therefore, the
complaint and the action will be dismissed without prejudice for failure to cure the
designated deficiencies as directed within the time allowed and for failure to prosecute.
Accordingly, it is

ORDERED that the complaint and the action are dismissed without prejudice for
failure to cure and for failure to prosecute.

DATED at Denver, Colorado, this A baay of {° , 2008.

BY COURT:

ZIVA L. WEINSHIENK, Senior Judge
ited States District Court

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. 08-cv-01731-BNB

James R. Gibson
Reg. No. 62228-004
ADX - Florence

PO Box 8500
Florence, CO 81226

| hereby certify that | hav Ne copy of the ORDER AND JUDGMENT to the
above-named individuals on_G/Q7

GREGORY C. LANGHAM, CLERK

By: WL ——S

7, {_ Deputy Clerk *

